Case 3:16-cv-03044-L-KSC Document 19 Filed 03/30/17 PageID.746 Page 1 of 4




  1
  2
  3
  4
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9
                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   YI FAN CHEN, and FRONTLINE                 No. 3:16-cv-03044-L-MDD
      GLOBAL TRADING PTE. LTD.,
 12
      Individually and on Behalf of All
 13   Others Similarly Situated,                 ORDER GRANTING MOTION OF
 14                                              NATISSISA ENTERPRISES LTD.
                                Plaintiffs,      FOR CONSOLIDATION OF THE
 15             v.                               ACTIONS, APPOINTMENT AS
 16                                              LEAD PLAINTIFF, AND
      ILLUMINA, INC., FRANCIS A.                 APPROVAL OF SELECTION OF
 17   DESOUZA, and MARC A.                       COUNSEL
 18   STAPLEY,

 19                              Defendants.
 20   JAMES MCLEOD, Individually and on
      Behalf of All Others Similarly Situated,   No. 3:17-cv-00053-L-MDD
 21
 22                               Plaintiff,
              vs.
 23
 24   ILLUMINA, INC., FRANCIS A.
      DESOUZA, and MARC A. STAPLEY,
 25
 26                               Defendants.

 27
 28
Case 3:16-cv-03044-L-KSC Document 19 Filed 03/30/17 PageID.747 Page 2 of 4




  1         Having considered the papers filed in support of the Motion of class member
  2   Natissisa Enterprises Ltd. (“Movant”) for Consolidation of the Actions,
  3   Appointment as Lead Plaintiff, and Approval of Selection of Counsel pursuant to
  4   the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. §
  5   78u-4(a)(3)(B), and for good cause shown, the Court hereby ORDERS as follows:
  6   I.    CONSOLIDATION OF RELATED ACTIONS
  7         1.     The above-captioned securities fraud class actions (the “Actions”)
  8   pending in this Judicial District are hereby consolidated for all purposes pursuant
  9   to Rule 42(a) of the Federal Rules of Civil Procedure.
 10         2.     A Master File is hereby established for the consolidated proceedings
 11   in the Consolidated Action. The docket number for the Master File shall be Master
 12   File No. 3:16-cv-03044-L-MDD. The original of this Order shall be filed by the
 13   Clerk in the Master File. The Clerk shall mail a copy of this Order to counsel of
 14   record in each of the above-captioned actions.
 15         3.     Every pleading filed in the Consolidated Action shall bear the
 16   following caption:
 17
 18
       IN RE ILLUMINA, INC.                     Master File No. 3:16-cv-03044-L-
 19    SECURITIES LITIGATION                    MDD
 20
 21   II.   APPOINTMENT OF LEAD PLAINTIFF AND COUNSEL

 22         4.     Movant has moved this Court to be appointed as Lead Plaintiff in the

 23   Actions and to approve the counsel he retained to be Lead Counsel.

 24         5.     Having considered the provisions of Section 21D(a)(3)(B) of the

 25   PSLRA, 15 U.S.C. § 78u-4(a)(3)(B), the Court hereby determines that Movant is

 26   the most adequate plaintiff and satisfies the requirements of the PSLRA. The Court

 27   hereby appoints Movant as Lead Plaintiff to represent the interests of the class.

 28         6.     Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, 15 U.S.C. § 78u-
      4(a)(3)(B)(v), Movant has selected and retained the law firm of Levi & Korsinsky
                                               2
Case 3:16-cv-03044-L-KSC Document 19 Filed 03/30/17 PageID.748 Page 3 of 4




  1   LLP to serve as Lead Counsel. The Court approves Movant’s selection of Lead
  2   Counsel.
  3          7.      Lead Counsel shall have the following responsibilities and duties, to
  4   be carried out either personally or through counsel whom Lead Counsel shall
  5   designate:
  6                  a.    to coordinate the briefing and argument of any and all motions;
  7                  b.    to coordinate the conduct of any and all discovery proceedings;
  8                  c.    to coordinate the examination of any and all witnesses in
  9   depositions;
 10                  d.    to coordinate the selection of counsel to act as spokesperson at
 11   all pretrial conferences;
 12                  e.    to call meetings of the plaintiffs’ counsel as he deems necessary
 13   and appropriate from time to time;
 14                  f.    to coordinate all settlement negotiations with counsel for
 15   defendants;
 16                  g.    to coordinate and direct the pretrial discovery proceedings and
 17   the preparation for trial and the trial of this matter, and to delegate work
 18   responsibilities to selected counsel as may be required;
 19                  h.    to coordinate the preparation and filings of all pleadings; and
 20                  i.    to supervise all other matters concerning the prosecution or
 21   resolution of the claims asserted in the Consolidated Action.
 22
 23   III.   NEWLY FILED OR TRANSFERRED ACTIONS
 24          8.      The Court requests the assistance of counsel in calling to the attention
 25   of the Clerk of this Court the filing or transfer of any case that may properly be
 26   consolidated as part of this action. When a case that arises out of the subject matter
 27   of this action is hereinafter filed in this Court or transferred from another Court, the
 28   Clerk of this Court shall:

                                                 3
Case 3:16-cv-03044-L-KSC Document 19 Filed 03/30/17 PageID.749 Page 4 of 4




  1                a.     file a copy of this Order in the separate file for such action;
  2                b.     mail a copy of this Order to the attorneys for the plaintiff(s) in
  3   the newly filed or transferred case and to any new defendant(s) in the newly filed
  4   or transferred case; and
  5                c.     make the appropriate entry on the docket for this action.
  6         9.     Each new case that arises out of the subject matter of the action that is
  7   filed in this Court or transferred to this Court shall be consolidated with the
  8   Consolidated Action and this Order shall apply thereto, unless a party objecting to
  9   this Order or any provision of this Order shall, within ten (10) days after the date
 10   upon which a copy of this Order is served on counsel for such party, file an
 11   application for relief from this Order or any provision herein and this Court deems
 12   it appropriate to grant such application.
 13         10.    During the pendency of this litigation, or until further order of this
 14   Court, the parties shall take reasonable steps to preserve all documents within their
 15   possession, custody or control, including computer-generated and stored
 16   information and materials such as computerized data and electronic mail, containing
 17   information that is relevant to or which may lead to the discovery of information
 18   relevant to the subject matter of the pending litigation.
 19
 20   IT IS SO ORDERED.

 21   Dated: March 30, 2017
 22
 23
 24
 25
 26
 27
 28

                                                  4
